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  CITY AND COUNTY OF HONOLULU,
  DEBRA MAIOHO-POHINA, AND
  JOHN LEO CASTILLO

                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI‘I

 ROBIN HALL,                             CIVIL NO. CV21-00248 LEK/KJM

            Plaintiff,             DEFENDANTS CITY AND
                                   COUNTY OF HONOLULU’S,
      vs.
                                   DEBRA MAIOHO-POHINA’S, AND
 CITY AND COUNTY OF HONOLULU; JOHN LEO CASTILLO’S RULE 16
 CHRISTOPHER KOANUI; LEONARD SCHEDULING CONFERENCE
 LETOTO; DEBRA MAIOHO-POHINA; STATEMENT; CERTIFICATE OF
 DOE OFFICER 1; DOE OFFICER 2; and SERVICE
 DOE OFFICER 3,

            Defendants.
                                         Trial Date: None.


            DEFENDANTS CITY AND COUNTY OF HONOLULU,
           DEBRA MAIOHO-POHINA, AND JOHN LEO CASTILLO’S
             RULE 16 SCHEDULING CONFERENCE STATEMENT
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        Defendants CITY AND COUNTY OF HONOLULU, DEBRA MAIOHO-

  POHINA, and JOHN LEO CASTILLO (collectively, “Defendants”) by and through

  their attorneys, Dana M.O. Viola, Corporation Counsel, and William K. Awong,

  Deputy Corporation Counsel, hereby submit their Scheduling Conference Statement

  pursuant to Rule 16 of the Federal Rules of Civil Procedure and Local Rule 16.2.

  I.    STATEMENT OF THE CASE 1

        Plaintiff in this matter claims to have been the victim of an assault

  committed by Defendant Leonard Letoto (“Letoto”). Defendants Christopher

  Keanui (“Keanui”), John Leo Castillo (“Castillo”), and Debra Maioho-Pohina

  (“Maioho-Pohina”) are Honolulu Police Department Officers that responded to the

  alleged assault. Plaintiff claims that because of a business relationship between

  Letoto and Keanui the alleged crime was improperly investigated, that Defendants

  filed false reports, that Plaintiff was retaliated against when she attempted to file a

  report, and that Plaintiff was denied the right to file a report. Defendants Castillo

  and Maioho-Pohina deny any wrongdoing.


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   As of the filing of this statement, Plaintiff has yet to file the Third Amended
  Complaint contemplated in the Court’s Order Granting in Part and Denying In Part
  Plaintiff’s Motion For Leave to File Third Amended Complaint (the “Order”). Dkt.
  102. Accordingly, this statement is necessarily based on assumptions about the
  proposed Third Amended Complaint.

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  II.    STATEMENT OF JURISDICTION

         The Court will likely have jurisdiction over Plaintiff’s U.S. Constitutional

  claims pursuant to sections 28 U.S.C. §§ 1331, 1343. The Court will likely have

  supplemental jurisdiction over the Hawai‘i state law claims under 28 U.S.C.

  § 1367. Venue is likely proper because the alleged events occurred in the State of

  Hawai‘i.

  III.   JURY TRIAL

         Plaintiff has previously demanded a jury trial.

  IV.    DISCLOSURES / DISCOVERY AND MOTIONS

         Because of the unique procedural history of this case, no initial disclosures

  have been exchanged, no discovery has been conducted and Defendants are still

  evaluating the propriety of additional motions practice.

  VI.    SPECIAL PROCEDURES

         Defendants take no position at this time regarding the appropriateness of any

  of the special procedures or other matters specified in Federal Rules of Civil

  Procedure Rule 16(c) and Local Rule 16.2.

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  VII. RELATED CASES

           Defendants are unaware of any related cases pending in any state of federal
  court.


                 DATED: Honolulu, Hawai‘i, June 15, 2023.

                                      DANA M. O. VIOLA
                                      Corporation Counsel

                                      By: /s/ William K. Awong
                                          WILLIAM K. AWONG
                                          Deputy Corporation Counsel

                                          Attorneys for Defendants
                                          CITY AND COUNTY OF HONOLULU,
                                          DEBRA MAIOHO-POHINA, AND JOHN
                                          LEO CASTILLO




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                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I

  ROBIN HALL,                                  CIVIL NO. CV21-00248 LEK/KJM
               Plaintiff,                      CERTIFICATE OF SERVICE

        vs.
  CITY AND COUNTY OF
  HONOLULU; CHRISTOPHER
  KOANUI; LEONARD LETOTO;
  DEBRA MAIOHO-POHINA; DOE
  OFFICER 1; DOE OFFICER 2; and
  DOE OFFICER 3,

               Defendants.




                              CERTIFICATE OF SERVICE

        I hereby certify that, on the date and by the methods of service noted below, a

  true and correct copy of the foregoing was served on the following at their last known

  addresses as shown below:

  Served Electronically through CM/ECF:

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       Attorneys for Defendant
       LEONARD LETOTO

       DATED: Honolulu, Hawai‘i, June 15, 2023.

                                 DANA M. O. VIOLA
                                 Corporation Counsel

                                 By: /s/ William K. Awong
                                     WILLIAM K. AWONG
                                     Deputy Corporation Counsel

                                       Attorneys for Defendants
                                       CITY AND COUNTY OF HONOLULU,
                                       DEBRA MAIOHO-POHINA, AND JOHN
                                       LEO CASTILLO




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